This is an original action in mandamus filed in this court praying that the Industrial Commission be ordered to make an award in favor of relator of an amount greater than that made by the Commission upon a hearing duly had before the Commission, from which no appeal was taken. It is claimed by relator that the injuries received by him resulted in the loss of his right arm, and relator further claims that the Commission so found, and so notified relator, but that the award is only in an amount sufficient to compensate him for the loss of a hand. The answer of the Commission alleges that the finding was that the relator had only suffered injuries resulting in the loss of the use of his right hand, and further alleges "that it will from time to time make such change or modification of any awards heretofore made according to the facts supported by the evidence placed before it or ascertained by *Page 188 
it in connection with this said claim." Inasmuch as the Commission has continuing jurisdiction by virtue of Section 1465-86, General Code, this court is of the opinion that relator has an adequate remedy at law and that he should be remitted to a further hearing before the Commission under its continuing jurisdiction. The writ of mandamus will therefore be denied.
Writ denied.
MARSHALL, C.J., ROBINSON, JONES, MATTHIAS, DAY and ALLEN, JJ., concur.
WANAMAKER, J., not participating.